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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :
UNITED STATES OF AMERICA                                               :
                                                                       :
                  -v-                                                  :      19-CR-374 (JMF)
                                                                       :
MICHAEL AVENATTI,                                                      :          ORDER
                                                                       :
                                    Defendant.                         :
                                                                       :
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JESSE M. FURMAN, United States District Judge:

        IT IS HEREBY ORDERED that the time for the final pretrial conference in this matter,
scheduled for January 18, 2022, is CHANGED from 3:00 p.m. to 11:15 a.m. Unless and until the
Court orders otherwise, the proceeding will be held in person. The Court will enter an order or notice
in due course advising in what courtroom the proceeding will be held.

       All members of the public, including attorneys, must complete a questionnaire and have their
temperature taken before being allowed entry into the Courthouse. Attached to this Order are
instructions and a link to the questionnaire. In light of these protocols, counsel and Defendant
should arrive at the Courthouse early to ensure that the proceeding can begin on time. An N95, KN95
or KF94 mask (fully covering the mouth and nose) must be worn at all times while in the
Courthouse. (Please note that cloth masks, bandanas, neck gaiters, masks with exhalation valves, and
ordinary surgical masks are not permitted.)

        In the interest of public health, and in order to comply with social distancing protocols, the
parties are strongly encouraged to limit the number of people in the courtroom as much as
possible. Indeed, seating at both counsel table and in the public area of the courtroom will be severely
limited. In view of those limitations and the restrictions on entry into the Courthouse, the parties
should immediately alert the Court if they anticipate the need for an overflow courtroom.

       Finally, counsel are strongly encouraged to ensure that any documents requiring a
signature are signed in advance of the proceeding and to submit any and all relevant documents
to the Court in advance of the proceeding (via ECF or email, as appropriate).

        SO ORDERED.

Dated: January 10, 2022                                    __________________________________
       New York, New York                                           JESSE M. FURMAN
                                                                  United States District Judge
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All members of the public, including attorneys, appearing at a Southern District of New York
courthouse must complete a questionnaire and have their temperature taken before being allowed
entry into that courthouse.
On the day you are due to arrive at the courthouse, click on the following weblink, or scan the
following QR code with a mobile device camera to begin the enrollment process. Follow the
instructions and fill out the questionnaire. If your answers meet the requirements for entry, you will
be sent a QR code to be used at the SDNY entry device at the courthouse entrance.
                               https://app.certify.me/SDNYPublic




Note: If you do not have a mobile phone or mobile phone number, you must complete the
questionnaire and temperature screening at an entry device at the courthouse.




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